97 F.3d 1449
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Sean D. COOK, Defendant-Appellant.
    No. 96-7160.
    United States Court of Appeals, Fourth Circuit.
    Submitted Sept. 20, 1996.Decided Oct. 2, 1996.
    
      Sean D. Cook, Appellant Pro Se.  Quincy Leon Ollison, Assistant United States Attorney, Bruce Carlton Swartz, Special Assistant United States Attorney, Nadira Clarke, Special Assistant United States Attorney, Alexandria, Virginia, for Appellee.
      E.D.Va.
      DISMISSED.
      Before NIEMEYER, HAMILTON, and MOTZ, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his motion filed pursuant to 28 U.S.C. § 2255 (1994), as amended by Antiterrorism and Effective Death Penalty Act of 1996, Pub.L. No. 104-132, 110 Stat. 1214.   We have reviewed the record and the district court's opinion, and find no reversible error.  Accordingly, we deny a certificate of appealability and dismiss the appeal on the reasoning of the district court.   United States v. Cook, Nos.  CR-91-305;  CA-96-472 (E.D.Va. July 15, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    